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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                              CIVIL ACTION FILE

                                              NO. 1:18-CV-5391-SCJ
v.

BRAD RAFFENSPERGER, et al.,

     Defendants.




                                      ORDER

        After consideration, the Court issues the following order on the previously

deferred discovery-dispute question of whether Plaintiffs may depose Governor

(and former Secretary of State) Brian Kemp and the current Secretary of State

Brad Raffensperger. See Order of Nov. 21, 2019, Doc. No. [146].

I. BACKGROUND

        As stated in the Court’s prior order, the Court received correspondence

from the parties concerning various discovery disputes. See Doc. Nos. [131-1],

[131-2], [139], and [143]. In their correspondence, the parties indicated that they

had reached an impasse on the issue of whether Plaintiffs may depose Governor
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(and former Secretary of State) Brian Kemp and the current Secretary of State

Brad Raffensperger. Doc. No. [131-2].

       The Court held a hearing on November 20, 2019 pursuant to its informal

discovery dispute resolution process. Doc. No. [34]. The Court thereafter

deferred its ruling on the depositions until it could review the 30(b)(6) witness

testimony (and other depositions) referenced by the parties in their arguments.

See Doc. No. [146]. The Court also requested that Plaintiffs produce audio clips

of statements made by Governor Kemp that were referenced at the hearing.

       The depositions and audio clips were delivered to chambers on

November 21, 2019 and December 5, 2019. More specifically, the Court received

the transcripts of the Secretary of State’s 30(b)(6)1 witnesses, Merrit Beaver and

Chris Harvey,2 and the transcripts of the following members of the State Election

Board (“SEB”): David Worley, Rebecca Sullivan, and Seth Harp. The Court also




1
 Under Federal Rule of Civil Procedure 30(b)(6), a governmental agency may designate
an officer, director, managing agent, or other person to testify about “information
known or reasonably available to the organization.”
2
 Merrit Beaver’s current job title is Chief Information Officer. Beaver Dep., p. 5. Chris
Harvey’s current job title is Director of Elections. Harvey Dep., p. 5.

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received the deposition of Stacey Abrams. All of these materials have been

thoroughly reviewed by the Court.3

II. LEGAL STANDARD

       Governor      Kemp     and     Secretary    Raffensperger      are   high-ranking

government officials.

       “[I]n the Eleventh Circuit, there is no per se rule forbidding the deposition

of high-ranking government officials.” Davis ex rel. J.D.D. v. Carroll, No. 8:16-

CV-0998-T-35MAP, 2017 WL 11151858, at *2 (M.D. Fla. July 24, 2017) (citations

omitted). However, “the Supreme Court has indicated that the practice of calling

high officials as witnesses should be discouraged.” In re United States, 985 F.2d

510, 512 (11th Cir. 1993) (citing United States v. Morgan, 313 U.S. 409 (1941)). It

has also been held that “‘top executive department officials should not, absent



3
  As the transcripts and audio were produced in the context of the discovery process,
the Court will maintain the transcripts/audio under seal and allow the parties to file
them at a later date (in the event that the transcripts/audio are used in a substantive
motion). See United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (“Discovery
is neither a public process nor typically a matter of public record. Historically, discovery
materials were not available to the public or press. Moreover, documents collected
during discovery are not ‘judicial records.’ Discovery, whether civil or criminal, is
essentially a private process because the litigants and the courts assume that the sole
purpose of discovery is to assist trial preparation. That is why parties regularly agree,
and courts often order, that discovery information will remain private.”) (citations
omitted).
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extraordinary circumstances, be called to testify regarding their reasons for

taking official actions.’” Id. (citing Simplex Time Recorder Co. v. Sec’y of Labor,

766 F.2d 575, 586 (D.C. Cir. 1985)). Additionally, district courts are cautioned to

“‘remain mindful of the fact that exceptional circumstances must exist before the

involuntary depositions of high agency officials are permitted.’” Id. (citing In Re

Office of Inspector Gen., 933 F.2d 276, 278 (5th Cir. 1991)).

      The reason for the exceptional circumstances rule is considered obvious,

as “[h]igh ranking government officials have greater duties and time constraints

than other witnesses.” Id. Their time is “very valuable.” Id. Accordingly, “[i]n

order to protect officials from the constant distraction of testifying in lawsuits,

courts have required that defendants show a special need or situation compelling

such testimony.” Id.

      The exceptional circumstances requirement is considered met “when high-

ranking officials ‘have direct personal factual information pertaining to material

issues in an action’ and the ‘information to be gained is not available from any

other sources,’” such as lower-level officials. McDaniel v. Bradshaw, No. 10-

81082-CIV, 2011 WL 13150501, at *1 (S.D. Fla. May 23, 2011), on reconsideration,

No. 10-81082-CIV, 2011 WL 13150486 (S.D. Fla. June 8, 2011); see also Cruz v.


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Green, No. 18-60995-CIV, 2019 WL 5208913, at *3 (S.D. Fla. Feb. 7, 2019) (“[e]ven

if the official has such knowledge, a court may require a party to pursue

alternative means of discovery, e.g., through lower-level officials, before

permitting the deposition to proceed.”).

III. DISCUSSION

       In their correspondence and arguments, Plaintiffs state that they seek to

depose Governor Kemp on the following eight topics: (1) his motivation, when

Secretary of State, for his “exact match policy;” (2) a memorandum encouraging

polling place closures; (3) his decision to purge voters from the rolls in years

preceding state elections; (4) his statements about and interpretation of the

responsibilities of the Secretary of State and the SEB; (5) his expressed concern

that large numbers of “minority voters” would be voting; (6) his hands-off

approach to local election officials; (7) his failure to alert local election officials to

expected high turnout for the 2018 elections; and (8) the reasons for the inaction

of the SEB while he served as its chair. Pl. Hearing Ex. 1.

       Plaintiffs assert that “[n]o other [Secretary of State] official or SEB member

can say what Governor Kemp’s reasons and intentions were with respect to these

issues.” Doc. No. [131-1], p. 1.


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      In opposition, Defendants argue that Plaintiffs have failed to make the

requisite showing of special need or situation for compelling the testimony of a

high-ranking government official. Doc. No. [131-1], p. 2. Specifically, in regard to

Governor Kemp, Defendants argue that Plaintiffs have failed to show or elicit

testimony that establishes that the Governor possesses any unique and personal

knowledge beyond that already available to Plaintiffs through the prior above-

referenced depositions. Id. Defendants assert that the Secretary of State’s 30(b)(6)

witnesses provided adequate substitutes for the high-ranking government

official’s appearance, as they possessed the relevant knowledge to provide the

testimony that Plaintiffs seek from the Governor. Id. Defendants also assert that

Plaintiffs have “simply failed to obtain the answers they wanted,” from the

30(b)(6) witnesses. Id. Defendants further assert that any argument that the mere

allegations of a complaint are sufficient to depose high-ranking government

officials would “vitiate the privilege established by the Eleventh Circuit’s

precedent, as any plaintiff in any case could make conclusory allegations and use

them as a basis to depose high-ranking officials.” Doc. No. [131-1], p. 8.

      In reply, Plaintiffs state that “[o]ther witnesses cannot supply this evidence

for the simple reason that no one else can get into the heads of Governor Kemp


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and Secretary Raffensperger and thus cannot know their thoughts, their

intentions, what factors they considered in arriving at various decisions, or what

they meant when they made certain statements.” Doc. No. [131-1], p. 5.

      The Court begins its discussion by noting that it does not appear that issues

of relevancy or personal knowledge are in dispute. Rather, as correctly framed

by Plaintiffs, the issue is whether only the Governor and Secretary Raffensperger

can supply the information sought or stated another way, whether the

information sought is personal and unique to the Governor and Secretary

Raffensperger. Doc. No. [131-1], p. 4. The Court also notes that there is some

support for Defendants’ insufficiency of the allegations of the complaint

argument as prior authority in this district holds that “an allegation of knowledge

by the noticing party, without more, generally will not suffice to mandate the

deposition.” Atlanta Journal & Constitution v. City of Atlanta Dep’t of Aviation,

175 F.R.D. 347, 348 (N.D. Ga. 1997). The Court accepts this authority as guiding

principle and also reviews the entire circumstances of this case in deciding

whether Governor Kemp and Secretary Raffensperger may be ordered to sit for

depositions.




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       The Court will now individually consider the eight topics proposed for

Governor Kemp’s deposition and the four topics proposed for Secretary

Raffensperger’s deposition.

       A. Deposition of Governor Brian Kemp

               1. Motivation, when Secretary of State, for his “exact match policy”

       Plaintiffs first seek to depose Governor Kemp on his motivation, when

Secretary of State, for his “exact match” identification policy. According to

Plaintiffs, then-Secretary Kemp was responsible for the interpretation of the

“exact match” identification policy from 2010 to 2018, thereby making his

personal motivation for and explanations of said policy relevant. See Pl. Hearing

Ex. 1, p. 1.

       Yet according to the deposition testimony from one of the Secretary of

State’s 30(b)(6) witnesses, Chris Harvey, the interpretation of the “exact match”

identification policy possibly predated Governor Kemp’s tenure as Secretary of

State. Harvey Dep., pp. 238–39 (“I don’t know if it started with him or it started

with Karen Handel or Kathy Cox.”). Furthermore, in his deposition, Harvey

provided detailed testimony on the interpretation as well as the implementation

of the “exact match” identification policy, both prior to and after the passage of


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H.B. 316. Id. at 236–38. Harvey also testified that he never had any conversations

with then-Secretary Kemp regarding the “exact match” process. Id. at 229.

      Accordingly, the Court finds that Harvey, as the Secretary of State’s

30(b)(6) witness on this topic, was an adequate substitute for Governor Kemp’s

appearance, as he possessed the relevant knowledge on the “exact match”

identification policy to provide the testimony that Plaintiffs seek from the

Governor. Plaintiffs have not met their burden and therefore may not depose

Governor Kemp on this topic.

            2. Memorandum encouraging polling place closures

      Next, Plaintiffs seek to depose Governor Kemp on his memorandum

encouraging polling place closures. See Pl. Hearing Ex. 5. As pointed out by

Defendants, however, there is no evidence or suggestion that then-Secretary

Kemp personally wrote or approved of this memorandum. The memorandum,

while bearing the State of Georgia seal, is not signed by the then-Secretary. The

Court also notes that Plaintiffs have not had the opportunity to ask the SEB

members any questions regarding the memorandum in their respective

depositions. Accordingly, the Court finds that Plaintiffs have not discharged

their burden of showing that Governor Kemp has any personal or unique


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information regarding this memorandum that cannot possibly be gained from

other available sources. Plaintiffs therefore may not depose the Governor on this

topic.

               3. His decision to purge voters from the rolls in years preceding state
               elections

         Plaintiffs also seek to depose Governor Kemp on his decision to purge

voters from the rolls in years preceding state elections. They allege that then-

Secretary Kemp was responsible for Georgia’s voter list purges from 2010 to 2018,

thus making his personal motivation for and explanations of the Secretary of

State’s policy approach relevant. See Pl. Hearing Ex. 1, p. 1.

         Defendants, in response, point to the deposition testimony of the Secretary

of State’s 30(b)(6) witness, Chris Harvey. Harvey testified at length to the process

used in removing, or “cancelling,” inactive voters, both prior to and after the

passage of H.B. 361. Harvey Dep., pp. 200–08. Specifically, Harvey testified that

the process of cancelling inactive voters generally occurs towards the end of odd-

numbered years, namely because there is no 90-day window in which voter list

maintenance can be done in election years. Id. at 206–07. Harvey further testified

that the manual process of cancelling voters in the registration system requires



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two people; and, in 2017, that those two people were himself and Ryan Germany.

Id. at 208.

       Plaintiffs assert that the reasons given by Harvey in his 30(b)(6) deposition

for the purge are pretext. Yet Plaintiffs cite no evidence or law in support of this

assertion, and the Court’s own independent research did not yield any binding

authority showing that pretext can be a basis for the deposition of a high-ranking

government official.

       The Court finds that Harvey, as the Secretary of State’s 30(b)(6) witness on

this topic, was an adequate substitute for Governor Kemp’s appearance.

Plaintiffs therefore may not depose the Governor on this topic.

              4. His statements about and interpretation of the responsibilities of
              the Secretary of State and the State Election Board (SEB)

       After reviewing the depositions of three members of the SEB, the Court

agrees with Plaintiffs’ assertion that “as Chair, the [Secretary of State] dictates all

aspects of the SEB’s operations, including the frequency of meetings,” the agenda

for each meeting, and “the promulgation of rules.” Letter from Plaintiffs to Court

(Nov. 11, 2018), Doc. No. [131-1], pp. 5–6. All three SEB members testified that

they were given no orientation or training, Harp Dep., p. 8; Sullivan Dep., p. 20;

Worley Dep., p. 10, and that their meetings and agendas were set by the Secretary

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of State or his office, Harp Dep., p. 23; Sullivan Dep., p. 23; Worley Dep., p. 101.

One SEB member, Seth Harp, testified that he was not familiar with or had never

seen the statute setting out the SEB’s duties. Harp Dep., p. 23.

      As the Chair of the SEB, then-Secretary Kemp directed all relevant

activities of the SEB. In the discovery hearing, Plaintiffs argued that only Kemp

could provide insight into his interpretation of the SEB’s duties and how it

informed his actions or inaction as Chair. For example, in the discovery hearing,

Plaintiffs questioned why certain counties were not sanctioned for violations of

the voting laws addressed in SEB complaints. It is clear from the testimony of the

other three SEB members that they do not have answers to such questions—nor

are they addressed in the 30(b)(6) testimony. Thus, Plaintiffs have met their

burden for this topic.

             5. His expressed concern that large numbers of “minority voters”
             would be voting

      Plaintiffs seek to depose Governor Kemp about two statements: one he

made at a Gwinnett event in July of 2014 while he was running for Secretary of

State, and one he made at a campaign event in Atlanta in October of 2018 while




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he was running for Governor. 4 Kemp was the sitting Secretary of State when both

statements were made.

        In 2014, regarding the voter registration efforts of the New Georgia Project,

then-Secretary Kemp stated:

               In closing, I just wanted to tell you real quick, after we
               get through this runoff, you know the Democrats are
               working hard, and all these stories about them, you
               know, registering all these minority voters that are out
               there and others that are sitting on the sidelines, if they
               can do that they can win this November. But we’ve got
               to do the exact same thing.

He then went on to describe how event attendees could help register more

Republican voters.

        In 2018, regarding his gubernatorial opponent’s get-out-the-vote effort,

then-Secretary Kemp stated:

               And as worried as we were going into the start of early
               voting with the literally tens of millions of dollars that
               they are putting behind the get out and vote efforts for
               their base, a lot of that was absentee ballot requests,
               they have just an unprecedented number of that, which
               is something that continues to concern us, especially if
               everybody uses and exercises their right to vote—which
               they absolutely can—and mail those ballots in, we gotta
               have heavy turnout to offset that.


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    The audio recordings of both statements are on file with the Court.
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Plaintiffs argue these statements are material as they relate to their 15th

Amendment and Equal Protection claims, which allege “Defendants intended, at

least in part, to suppress the number of votes cast by persons of color.” Doc. No.

[41], ¶¶ 179, 193.

      Defendants argue that Plaintiffs mischaracterize Kemp’s statements. To

explain the 2014 statement, they point to an Atlanta Journal Constitution article

which argued Kemp was simply advocating for greater registration of

Republican voters to offset Democratic registration efforts. However, despite the

explanations given by his counsel or local journalists, only then-Secretary Kemp

can explain what he actually meant when he made the statement. Therefore,

Plaintiffs have met their burden as to this topic.

             6. His hands-off approach to local election officials

      Plaintiffs seek to depose Governor Kemp on his hands-off approach to

local election officials. The Court, however, finds that the Secretary of State’s

30(b)(6) witness, Chris Harvey, sufficiently addressed this topic in his deposition.

Specifically, Harvey provided detailed testimony regarding the manner in which

the Secretary of State’s Office prepares and provides training materials to local

election officials, as well as the training procedures and policies employed by the


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Secretary of State’s Office. Harvey Dep., pp. 26–101. Accordingly, Plaintiffs have

not met their burden and therefore may not depose Governor Kemp on this topic.

            7. His failure to alert local election officials to expected high
            turnout for the 2018 elections

      Plaintiffs seek to depose Governor Kemp on his failure to alert local

election officials to expected high turnout for the 2018 elections. Once more, this

precise topic was addressed and answered by the Secretary of State’s 30(b)(6)

witness, Chris Harvey. Namely, Harvey testified that it is usually “common

knowledge” among local election officials when a “high volume election” is to be

expected. Harvey Dep., p. 172. Harvey further stated that while the Secretary of

State’s Office emphasizes the scope and gravity of a projected high turnout

election, most counties know what to expect and are generally prepared. Id. at

173. Accordingly, the Court finds that Harvey, as the Secretary of State’s 30(b)(6)

witness on this topic, was an adequate substitute for the Governor’s appearance.

Plaintiffs have not met their burden and therefore may not depose Governor

Kemp on this topic.

            8. The reasons for the inaction of the SEB while he served as its chair

      As mentioned supra, the deposition testimony supports that as Chair, the

Secretary of State “dictates all aspects of the SEB’s operations, including the

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frequency of meetings,” the agenda for each meeting, and “the promulgation of

rules.” Letter from Plaintiffs to Court (Nov. 11, 2018), Doc. No. [131-1], p. 6.

Rebecca Sullivan testified that meetings were always called by the Secretary of

State, and that an agenda and materials were provided to SEB members by the

Secretary of State’s office. Sullivan Dep., p. 23. David Worley was aware that a

meeting can be called by two SEB members, but nonetheless testified that in his

experience, it was always the Chair who called the meetings. Worley Dep., p. 101.

Seth Harp confirmed that the Secretary of State called the meetings and provided

meeting materials. Harp Dep., p. 23.

      All three SEB members also testified that complaints did not reach the SEB

until the Chair scheduled them to be discussed. Harp. Dep., p. 23; Sullivan Dep.,

p. 34–35; Worley Dep., pp. 102–103. Thus, the SEB could not perform its core

function of reviewing complaints until the Chair brought them to the attention of

the other SEB members. Even when Rebecca Sullivan, the Vice Chair, lead

meetings in then-Secretary Kemp’s absence, his office would meet with her ahead

of time to explain the agenda, which was prepared before her arrival. Sullivan

Dep., pp. 34–35. Finally, Rebecca Sullivan and Seth Harp testified that the SEB

had never promulgated a single rule during their tenure. Harp Dep., p. 25;


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Sullivan Dep., 58. The longest-serving member, David Worley, stated the

regulations he recalled were generally “adopted as a result of recommendations

from the Secretary of State.” Worley Dep., p. 111.

      The SEB’s alleged failure to timely investigate complaints and impose

sanctions or promulgate ameliorative regulations is material to Plaintiffs’ claims.

The other members of the SEB could not review complaints or otherwise act

without the Chair’s direction, and only then-Secretary Kemp can explain why he

decided to call (or forgo) meetings when he did, and why he chose to schedule

certain items of discussion when he did. Nothing in the 30(b)(6) testimony speaks

to these precise questions. Thus, Plaintiffs have met their burden of showing that

Governor Kemp “‘ha[s] direct personal factual information pertaining to material

issues in an action’ and the ‘information to be gained is not available from any

other sources.’” McDaniel, No. 10-81082-CIV, 2011 WL 13150501, at *1.

      B. Deposition of Secretary of State Brad Raffensperger

      In their correspondence, Plaintiffs state that they seek to depose Secretary

Raffensperger on the following topics: (1) information relevant to their request

for prosecutive relief (specifically, whether and how he intends to continue the

practices and policies that Plaintiffs allege are unlawful), (2) his interpretation of


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current election law, (3) his policy decisions, and (4) his expressed bias against

Plaintiffs’ claims. Doc. No. [131-2], p. 2. Plaintiffs further assert that “[n]o other

official can address [Secretary Raffensperger’s] unique personal knowledge and

intent on these subjects. Id.

             1. Information relevant to Plaintiffs’ request for prosecutive relief

      The Court recognizes that to obtain prospective relief, Plaintiffs will need

to establish a sufficient likelihood that the alleged wrongful conduct will likely

continue to occur. See generally Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.,

Inc., 528 U.S. 167, 170 (2000); City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983);

and Davis v. Rucker, No. 3:01-CV-627-J-25HTS, 2002 WL 31235735, at *2 (M.D.

Fla. Aug. 23, 2002).

      In considering the proposed deposition topic, the Court thoroughly

reviewed the deposition testimony of the Secretary of State’s 30(b)(6) witness,

Chris Harvey, and noted his vast knowledge of the state’s election policies,

procedures, and activities. After reviewing this testimony, the Court finds that

Harvey can adequately provide information relevant to Plaintiffs’ request for

prospective relief. Plaintiffs have not met their burden of establishing exceptional

circumstances to warrant Secretary Raffensperger’s deposition. To this regard,


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Harvey may be re-deposed in a 30(b)(6) capacity and Plaintiffs may pose their

prospective relief questions to him.

             2. Interpretation of current election law

      As this case is primarily based on conduct that occurred prior to Secretary

Raffensperger being sworn in as Secretary of State and in light of the fact that

there has been a recent, dramatic change in Georgia election law, without more,

the Court is unable to conclude that Plaintiffs have sufficiently met their burden

of establishing that Secretary Raffensperger’s interpretation of current election

law would be a material issue sufficient to authorize a high-ranking official

deposition. See Baas v. Fewless, 886 F.3d 1088, 1091 (11th Cir. 2018) (“A ‘material’

fact is one that ‘might affect the outcome of the suit under the governing law.’”).

The Court also notes that generally, “the interpretation of a statute is a question

of law for the court to decide.” Birnholz v. 44 Wall St. Fund, Inc., 880 F.2d 335,

341 n.8 (11th Cir. 1989).

      Plaintiffs have not met their burden on this topic.




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              3. Policy decisions

        Similar to the first topic/request, the Court finds that Harvey may be re-

deposed in a 30(b)(6) capacity to provide this information. Plaintiffs have not met

their burden on this topic.

              4. Expressed biases against Plaintiffs’ claims

        Based on the Court’s judicial experience, the Court is aware that most

defendants do not like being sued and harbor bias (or some type of dislike) in the

litigation process. To this regard, Plaintiffs have not sufficiently shown how

deposing Secretary Raffensperger on the topic of his alleged lawsuit bias is

material, such that the testimony would affect the outcome of this lawsuit. See

Baas, 886 F.3d at 1091 (providing the definition of “material”).5

IV. CONCLUSION

        In conclusion, Plaintiffs’ request to depose Governor (and former Secretary

of State) Brian Kemp is GRANTED as to proposed topics 4, 5, and 8 and DENIED

as to proposed topics 1, 2, 3, 6, and 7. In recognition of the time constraints and




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  The Court recognizes that this topic could concern the § 3(c)/retention of jurisdiction
relief requested by Plaintiffs in their Amended Complaint. Doc. No. [41], p. 89, ¶ 5. To
this regard, Plaintiffs may petition the Court (by motion) for additional discovery in the
event that the § 3(c) issue is reached at the conclusion of this litigation.
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important duties of the Governor, the following parameters shall govern the

deposition: (1) the deposition shall occur at a date and time that is convenient

and least disruptive to the Governor’s schedule (but no later than

January 10, 2020); (2) the location of the deposition shall be at the Governor’s

Office or a location of his choosing; (3) the duration of the deposition shall not be

longer than two hours (objections included); and (4) deviations outside of topics

4, 5, and 8 are not be permitted.6

        Plaintiffs’ request to depose Secretary of State Brad Raffensperger is

DENIED, with leave to renew (as to topic 3) at a later date.

        The Court also sua sponte AMENDS its prior scheduling order (Doc.

No. [79]) to allow for fact discovery to be extended until January 10, 2020 for the

limited purposes of re-deposing Harvey in a 30(b)(6) capacity and deposing

Governor Kemp. The Court also sua sponte STAYS the scheduling order’s

remaining deadlines (with the exception of the December 16, 2019 close of expert

discovery) until further order of the Court.




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  After the deposition is scheduled, the parties shall notify the Court’s Courtroom
Deputy Clerk of the time and date so that the Court may be available by phone call to
resolve any unexpected disputes that may hinder the deposition from going forward.
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    IT IS SO ORDERED this 5th day of December, 2019.


                                 s/Steve C. Jones
                                 HONORABLE STEVE C. JONES
                                 UNITED STATES DISTRICT JUDGE




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